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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:03CR290
                              )
          v.                  )
                              )
STERLING J. McKOY,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion
to supplement pending motion to reconsider the denial of

§ 3582(c)(2) (Filing No. 490).        The Court finds the motion should

be granted.    However, the cases cited do not impact the decision

of the Court and its previous order (Filing No. 489) denying his

motion to reconsider (Filing No. 488).           Accordingly,

           IT IS ORDERED that defendant’s motion to supplement his

motion to reconsider the denial of § 3582(c)(2) motion is

granted.   The Court’s previous ruling on his motion to reconsider

remains in full force and effect.
           DATED this 31st day of July, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
